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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

SECURITIES AND EXCHANGE                           §
COMMISSION,                                       §
                                                  §
       Plaintiff,                                 §
                                                  §
       vs.                                        §
                                                  §
MAURICIO CHAVEZ, GIORGIO                          §         CIVIL ACTION NO. 4:22-CV-03359
BENVENUTO and CryptoFX, LLC,                      §
                                                  §         JUDGE ANDREW S. HANEN
       Defendants.                                §
                                                  §
CBT Group, LLC,                                   §
                                                  §
       Relief Defendant.                          §



   RECEIVER’S FOURTH INTERIM STATUS REPORT REGARDING CRYPTOFX
                    CRYPTOCURRENCY TRADING

       John Lewis, Jr. (“Receiver”), the court-appointed Receiver for Mauricio Chavez

(“Chavez”), Giorgio Benvenuto (“Benvenuto”), CryptoFX, LLC (“CryptoFX”), and CBT Group,

LLC (“CBT”), pursuant to the Order Appointing Receiver (“Receivership Order”) (Doc. No. 11)

files his Fourth Interim Status Report (“4th Report”) covering the period from April 1, 2023 to June

30, 2023.

                                   I.      INTRODUCTION

       1.      In the past ninety days, Receiver and his team have continued their investigation of

this case, particularly focusing their efforts on identifying and tracing cryptocurrency trading

transactions, which have the potential to increase the value of assets in the Receivership Estate by

a substantial amount.


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       2.       In accordance with the Court’s Receivership Order, this Report includes (a) a

general summary of the work done since the Third Interim Report filed by Receiver and his team;

(b) cash on hand and estimated accrued expenses and a schedule of receipts and disbursements;

(c) a description of all known receivership property; (d) a description of liquidated and

unliquidated claims; (f) a list of all known creditors; and (g) Receiver’s proposed plan for

administering the Receivership.

                                II.    EXECUTIVE SUMMARY

       3.       Receiver’s First Interim Report (“1st Report) was filed on November 28, 2022, sixty

(60) days following Receiver’s appointment. In the 1st Report, Receiver advised the Court of the

following:

       a) A larger case than previously thought. Rather than a fraud in the $12 million range

             as previously plead, early forensic efforts by Receiver’s team revealed a fraud

             approximating at least $150 million.

       b) Ongoing Fraud. Notwithstanding the Receivership Order and the Court’s permanent

             injunction therein, Receiver’s review of CFX business records revealed that Chavez

             and related entities continued to conduct “business” around the country, including

             Texas, California, New Jersey, Louisiana, and Illinois. Receiver concluded that “no

             meaningful or legitimate business [was] conducted by Defendants” and “activities and

             operations bear the indicia of a Ponzi scheme…”

       c) A large document and ESI case. From PayPal, Google Drive, Salesforce, SMS (Text

             Messages), electronic payments through depository institutions, WhatsApp, to dozens

             of cryptocurrency platforms and thousands of crypto wallets, Receiver’s team would

             need to engage forensic expertise to image, store, and access business records.
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            Receiver’s team would also need to engage cryptocurrency experts given the volume

            of CFX money that flowed through the company and its leaders. In the opening weeks

            of the Receivership, business records recovered approximated 177,000 in scanned

            documents and seven terabytes of data (one terabyte is approximately 250,000 scanned

            images).

       d) Substantial causes of action. Receiver recovered approximately $3.7 million and

            reported to be “actively liquidating an additional $6-8 million” pursuing claims against

            “CFX senior employees, family members of the Defendants, related business entities

            and other third parties” who enabled the fraud.

       4.      Receiver’s Second Interim Status Report (“2nd Report) was filed January 31, 2023

(Doc. No. 50). In the 2nd Report, Receiver advised the Court of the following:

       a) An even bigger case. Receiver uncovered forensic evidence indicating that the

            Defendants have defrauded over 40,000 victims in excess of $300 million including

            $41 million Chavez personally appears to have received. Receiver’s team has not been

            able to account for this $41 million in this case and Chavez has failed and refused to

            produce company-owned (now Receiver-owned) computer software, electronically

            stored information (ESI), passwords to company devices, and required credentials to

            enterprise data management solutions utilized by CryptoFX, including Salesforce and

            Microsoft 365 among others.

       b) Continued fact gathering. Receiver’s team propounded various subpoenas to third

            parties, parties, financial institutions, cryptocurrency platforms, professionals retained

            by CryptoFX, internet services, facilities securities services, and various other fact

            witnesses.
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       c) Discovery of numerous “related entities.”             Receiver’s team deposed several

            CryptoFX sales agents, employees, Chavez’s wife, Chavez reported girlfriend, as well

            as persons believed to have knowledge of at least fourteen (14) Chavez

            related/controlled entities potentially holding receivership property owned, held, or

            controlled by Chavez affiliated entities not currently subject to the jurisdiction of this

            Court.

       5.      Receiver’s Third Interim Status Report (3rd Report) was filed on May 1, 2023 (Doc.

No. 72). In the 3rd Report, Receiver advised the Court:

   a) Continued interviews and depositions. Receiver’s team conducted several interviews

       with CryptoFX former employees, sponsor/leaders, and their counsel and reviewed and

       analyzed hundreds of documents produced from these interviews.

   b) Detailed review of Salesforce data confirming Ponzi scheme. After extensive

       negotiations with Salesforce and its counsel, review of Salesforce data shows that a)

       CryptoFX raised over $300 million from over 40,000 investors around the county and b) it

       would have been impossible for Chavez and CryptoFX leaders to deliver the 15% month

       over month profits they promised to investors/victims.

   c) CryptoFX was a “cash” AND a cryptocurrency business. While a majority of the $300

       million in investments appear to have been made in cash, many investors were also paid

       by CryptoFX in cryptocurrency.         This required Receiver to a) reconstruct (follow)

       thousands of incoming cash payments and b) undertake a “trace” of each of the 12,000

       cryptocurrency transactions involving over 6,800 unique cryptocurrency wallet addresses

       through 70 different types of cryptocurrencies.

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    d) Receiver retains BlockTrace.               To assist with the novelty, technical difficulty, and

        complexity of a cryptocurrency forensic investigation in this case, Receiver retained

        BlockTrace, an experienced and well-regarded firm which has employed retired Internal

        Revenue Service (“IRS”) and Homeland Security Investigations (“HSI”), Special IRS

        agents with 25 years in criminal and financial investigations backgrounds, including over

        100 cryptocurrency tracing investigations. BlockTrace has trained federal, state, local and

        tribal governments in “Darknet/Crypto” and BlockTrace’s principals have been qualified

        as testifying expert witnesses. BlockTrace is retained in this case to advise Receiver on

        asset recovery strategies and investigating fraud or crimes involving the use of

        cryptocurrencies.1

        6.       Receiver’s Fourth Interim Status Report (4th Report) is filed herein. Receiver

advises the Court as follows:

        a) BlockTrace’s cryptocurrency investigation is ongoing. To date, BlockTrace has

             analyzed transactions related to five Coinbase accounts, though tracing of those

             accounts is ongoing.         BlockTrace’s analysis thus far is limited to January 2020

             (approximate date that CryptoFX commenced business operations) through December

             2022.

        b) Cryptocurrency tracing is tedious and time consuming. Cryptocurrency tracing

             involves analyzing tens of thousands of threads of Blockchain data to track and

             investigate cryptocurrency transactions. Cryptocurrency tracing is time consuming and

             often leads to additional crypto wallet addresses without any identifying person or


1
  Receiver is contemporaneously filing BlockTrace’s first interim fee application for its ongoing work as described
above. Counsel for the SEC have been briefed on these efforts and were provided with a detailed virtual presentation
from BlockTrace regarding its preliminary findings.
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             entity. The paper and electronic records of CryptoFX include the identity of some

             wallet owners but in many cases it does not. To enable the BlockTrace work,

             Receiver’s team continues to propound and negotiate outbound subpoenas both to

             individuals and multi-national companies (i.e. Google, Salesforce) as necessary to trace

             back to the ultimate recipient and trace forward to identify the sender of cryptocurrency

             to and from CryptoFX cryptocurrency accounts.

        c) Looking for “needles in a haystack.”                    In the first 12 weeks of BlockTrace’s

             engagement and as it begins to digest the first tranche of the 12,000 transactions

             identified between CryptoFX, Chavez, and others, and to unlock, identify, source, trace,

             and account for 6,800 unique crypto wallets, BlockTrace has uncovered the following

             so far:

                      Four (4) cryptocurrency transfers worth $2.4 million from CryptoFX controlled
                       accounts at Coinbase. These transactions were previously unknown to Receiver
                       prior to BlockTrace’s engagement.
                      Fifteen (15) accounts at Binance and Swithchain (previously unknown to
                       Receiver) that received “suspicious transfers from CryptoFX.
                      CryptoFX sales leaders’ cryptocurrency accounts received “investments” after
                       Receiver’s appointment.
                      To date, only approximately 60% of withdrawals from CryptoFX/Chavez
                       Coinbase accounts have been traced.
                      Discovery of Chavez’s four (4) self-custodial accounts at Blockchain.com2
                      Discovery of CryptoFX/Chavez accounts at KOT4X, Bittrix, and Square.
                      Three (3) Exodus Wallets used to move cryptocurrency transactions.
        d) More discovered accounts, exchanges and transactions. As the BlockTrace work

             continues, Receiver and his team continue to analyze and research for potential sources




2
 A “self-custodial” wallet in cryptocurrency terminology refers to a cryptocurrency wallet where only the holder
(Chavez) possesses and controls the private key to that wallet. Hence, given Chavez’ invocation of the 5th Amendment,
Receiver has not yet access these wallets or determine their value. Receiver’s motion to compel Chavez’ compliance
with the Receivership Order and Chavez’s response asserting his 5th Amendment rights is now fully briefed and
awaiting this Court’s ruling.
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            for additional recoveries, including, but not limited to, continued investigation of the

            following:

               A $1 million cryptocurrency transfer from a CryptoFX account at Coinbase to
                a non-CryptoFX Coinbase account beginning with 5f75; ;
              BlockTrace has built a database of all 12,000 transactions (mentioned earlier);
              Chavez’s wife, Angelica Vargas, had a non-custodial Exodus wallet where a
                total of approximately 299 Bitcoin (USD value of approximately
                $11,498,000.00) were transferred in and out resulting in a zero balance;
              Fifteen (15) accounts at Binance and Swithchain that received suspicious
                cryptocurrency transfers from CryptoFX;
              Cryptocurrency accounts of CryptoFX sales leaders where we have identified
                investments made after the Receiver appointment;
              Mauricio Chavez’s four (4) self-custodial accounts at Blockchain.com;
              Previously undisclosed or discovered accounts to at least ten additional crypto
                exchanges (i.e. Kracken, KOT4) identified by BlockTrace.
       e) Receiver’s Ongoing Investigation

       7.      Receiver and his team have continued fact development by: (1) conducting

interviews of key leaders, employees, and sales personnel at CryptoFX; (2) issuing third-party

subpoenas for documents and information from additional financial institutions, cryptocurrency

platforms, title companies, and other fact witnesses; (3) sending demand letters to key sales agents

and leaders at CryptoFX requesting an accounting of all monies received from CryptoFX in the

form of commissions, bonuses, and Ponzi payments, and requesting all CryptoFX assets in their

possession.

       8.      Receiver continues to liquidate Receivership property in accordance with his

liquidation plan. (Doc. No. 47). Since the filing of the 3rd Report, Receiver sold a 2021 Mercedes-

Benz GLE Hybrid SUV for $65,000 and is currently finalizing the sale of a 2022 BMW X M501

for $64,600. Both sales have been approved by the Court. (Doc. No. 70). Receiver is in

negotiations over the sale of the Mack Washington property in Waller, County which will hopefully

sale for around $1,000,000.

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III.    The BlockTrace Investigation and Report

        9.       Given the hundreds of millions of dollars of cash and cryptocurrency transactions

in this case, the Receiver employed BlockTrace to serve as the Receiver’s cryptocurrency

consultants. (Doc. No. 42). The Court granted Receiver’s Motion to Employ BlockTrace on

January 6, 2023. (Doc. No. 43).

        10.      Beginning in January 2023, BlockTrace began an extensive analysis of all available

CryptoFX cryptocurrency records.        BlockTrace’s final report to Receiver and this Court is

currently in the form of a 175 page highly detailed and technical draft report and provided to the

Receiver on April 11, 2023. The Receiver Team has been reviewing the report and working with

BlockTrace to summarize the primary issues to report to the Court. Since the BlockTrace report

is preliminary and contains the complete wallet addresses for over 6,800 accounts, including

investors/victims, the Receiver will file BlockTrace’s final report once the majority of all crypto

tracing is complete.

        11.      The six Coinbase accounts and other accounts/wallets used by CryptoFX and

related parties that are of primary importance are listed below. For simplicity and security, only

the first four digits of the wallet address are shown and are in bold throughout this report:

Owner/Holder        Address     Exchange/Wallet       Notes regarding Account Status
 Chavez             5fb5          Coinbase                Researched
 Chavez             52cd          Coinbase                Researched /Primary account
 Chavez             1Msf          Exodus Wallet           Need info / Attempt to trace. Can’t subpoena
 Chavez             bc1q          Exodus Wallet           Need info / Attempt to trace, Can’t subpoena
 Chavez/Vargus      1d8g          Exodus Wallet           Non-custodial account. Can’t subpoena
 Chavez             14jw          Believe Exodus Wallet   Non-custodial account. Can’t subpoena
 Chavez             3255          Blockchain.com          Investigation underway
 Chavez             79d3          Blockchain.com          Self-custodial. No documents.
 Chavez             7ea1          Blockchain.com          Self-custodial. No documents.
 Chavez             e208          Blockchain.com          Self-custodial. No documents.
 Chavez             24f4          Blockchain.com          Self-custodial. No documents.
 Chavez             2125712       KOT4X                   Awaiting subpoenaed documents
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    Chavez             2165604        KOT4X                    Awaiting subpoenaed documents
    E. Taffinder       5a25           Coinbase                 Researched and loaded in database
    J. Taffinder       6024           Coinbase                 Researched and loaded in database
    Benvenuto          5ecd           Coinbase                 Researched and loaded in database
    Fernandez          59e5           Coinbase                 Researched and loaded in database
    Unknown            See detail3    Binance.com              Subpoenaed 10 accounts
    Unknown            See detail4    Switchain                Five accounts in Marshall Islands
    Unknown            rHwk           XRP                      BlockTrace currently analyzing
    CryptoFX                          Square                   Receiver has the data to analyze
    CryptoFX                          Bittrex                  Receiver has the data to analyze
    Unknown            3JRL,3QWS      Kracken                  Has not responded to subpoena
    Unknown            3J1C,3BNW      Bitstamp                 UK entity and need to take further steps
    Unknown            3LJH,3QAw      Crypto.com               Maltese entity and need to take further steps
    Unknown            3MKp           Kucoin                   Has not responded to subpoena

           12.     At the same time BlockTrace was investigating the Coinbase accounts, the

Receiver’s forensic accountants, Hays Financial Consulting, LLC (“HFC”), undertook an

extensive analysis of all documents in the Receiver’s possession for cryptocurrency wallet

addresses that received or were sent cryptocurrency. HFC identified hundreds of wallets owned

by CryptoFX sales leaders and investors that received and were sent cryptocurrency. HFC also

researched information in WhatsApp communications as discussed further in this report.

       A. Mauricio Chavez’s Accounts

           13.     BlockTrace analyzed the Blockchain.com custodial account #3255 of Mauricio

Chavez for transactions from August 3, 2022 through September 27, 2022 (two days before entry

of the Receivership Order). This custodial account had a total of 21 deposit transactions totaling

$1,760,649.00. These deposits were made in Bitcoin, Ether, and USDT. This custodial account

had a total of 43 withdrawals totaling $454,770.00. The withdrawals were made in BTC, ETH,

and USDT. Further analysis is needed to determine both the source and destination of these




3
    The Binance.com accounts are: 1Eax, 14xS, 1CMk, 1Hgy, 1EAA, 1KK1, IM2b, 1RHd, 1GB8, 1GaX.
4
    The Switchain accounts are: 3Cse, 3Jug, 3HXN, 3F7u, 3Jnu
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transactions.   The difference between deposits ($1,760,649) and withdrawals ($454,770) is

basically what the Receiver swept from the frozen account ($1,161,140.95).

       14.      Chavez also had four self-custodial accounts at Blockchain.com. Self-custodial

account are accounts on which Blockchain.com does not collect, retain, or have access to the coins

or the account records. Blockchain.com has informed Receiver’s team that only the owner has

access to the private key(s) necessary to effectuate transactions in these four non-custodial

accounts.

       15.      At this time Receiver has not been able to trace all transfers to and through the four

Chavez self-custodial accounts which are: 24f4, 79d3, 7ea1, e208. However, the additional

records and data Receiver seeks in the Motion to Compel filed on April 24th (Doc. No. 71) may

assist in providing the necessary information to verify the cryptocurrency transferred to and from

these Blockchain.com self-custodial accounts.

   B. Mauricio Chavez’s Wife (Angelica Vargas’s) Accounts

       16.      Angelica Vargas, Chavez’s wife, had a non-custodial Exodus wallet cluster (1d8g)

in her name. A total of 299 Bitcoin (BTC) were transferred in and 299 BTC (USD value of

approximately $11,498,000.00) were transferred out of this wallet. There is currently no balance

in this wallet and the last transaction was on 1/22/2022. A file containing the transactional

information of this Exodus wallet was in the Receiver’s files and contained notes on some of the

transactions. This will be analyzed further, and the transactions traced to their source and

disposition. Receiver’s team is issuing a demand letter to Angelica Vargas, seeking immediate

turnover of these funds and other Receivership assets.

       17.      At this point, the Receiver is awaiting additional CryptoFX company records and

assessing the key priorities and cost/benefit of further research.
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   C. Four CoinBase Direct Transfers Awaiting Subpoena Results

       18.      BlockTrace has identified four additional cryptocurrency addresses that received

over $2.4 million in transfers from Chavez’s Coinbase accounts. A description of the transfers to

these addresses is as following:

            Address 14Jw received one hundred and seventy one (171) transfers of BTC totaling
             $547,121.88. The Receiver has recently identified information on a leader spreadsheet
             that 14Jw is an account controlled by Chavez. BlockTrace has identified 12 possible
             entities or individuals that received funds from this account. BlockTrace believes this
             is a non-custodial account and believes this is possibly an Exodus wallet. Additional
             research will be conducted after the company documents subject to the Motion to
             Compel are produced.
            Address 1Msf received six (6) transfers of BTC totaling $318,802.32. BlockTrace has
             the exported data on this wallet from CryptoFX company records. Because this is an
             Exodus custodial wallet, the Receiver cannot send a subpoena for additional
             information on the transactions in this wallet. However, the Receiver Team is hopeful
             additional information is located in the CryptoFX Google Drive once accessed.
            Address rHwk received two (2) transfers of XRP totaling $517,406.41. BlockTrace
             has not analyzed at this time but is planning to begin the analysis soon.
            Address 5f75 received a total of $1,018,272 of BTC in 5 transactions from an account
             identified as “My Wallet” in Exodus. BlockTrace plans to continue investigation once
             additional documents are produced.
       19.      The above are just a few examples of the types of significant transfers BlockTrace

has been researching and is awaiting additional documents to identify accounts that could have

received investor’s money.

   D. Additional Accounts at Binance and Switchain

       20.      In addition to the above, BlockTrace identified fifteen (15) accounts held at Binance

and Switchain that they recommend be subpoenaed for additional tracing. Receiver and his team

issued these subpoenas and have followed up requesting a response. BlockTrace advised that the

activity out of these crypto addresses was not the typical type of activity they identified when

tracing payments out of the Coinbase accounts. While these 15 addresses received relatively small



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amounts of BTC and other cryptocurrencies, the research indicates that the total amount received

in these accounts from all sources is not typical to the addresses we have identified for “investors.”

        21.      These 15 addresses received large amounts of BTC and other cryptocurrencies from

many sources (not just CryptoFX). This could possibly mean that the addresses are: 1) brokers

that receive BTC which was converted to a fiat currency5; 2) accounts related to the CryptoFX

Ponzi scheme and where the BTC is hidden; or, 3) accounts where the BTC was sent conspicuously

and transferred to other accounts to be converted to another coin type and eventually fiat currency.

        22.      Receiver has served subpoenas on Binance.com and Switchain and is awaiting a

response.

    E. KOT4X Accounts Under Investigation By Receiver

        23.      BlockTrace analyzed the KOT4X account records and determined there were 2

accounts (2125712 and 2165604) in the name of Mauricio Chavez. Between November 11, 2020

and July 13, 2021 a total of 782 transactions occurred in these accounts. During this period,

BlockTrace has identified deposits valued at $1,603,499 and withdrawals valued at $3,498,334.

Based on the current records it is unknown how these deposits and withdrawals were made and if

these transaction were done in cryptocurrency, USD, or a combination of both. It should be noted

that the price of Bitcoin increased by 265% between November 2020 (BTC valued at

approximately $15,320) and May 2021(BTC valued at approximately $55,900) which is when a

majority of these transactions occurred.

        24.      The Receiver Team identified additional KOT4X records that show the user name

“Mauricio” but no account number and a list of payments in Bitcoin with a partial Bitcoin address.



5
 Fiat currency is a government-issued currency that is not backed by a physical commodity, such as gold or silver,
but rather the government that issued it.
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The amounts in these documents do not match the transactions in the 2 identified accounts above.

Therefore, it appears that there are additional KOT4X accounts that have not been located at this

time.

        25.    The Receiver has sent a subpoena KOT4X to determine if there is any other

potential accounts. Of the $3.5 million withdrawn from the KOT4X accounts, $1.0 million went

to John Fernandez, who is the subject of another SEC complaint, and the largest portion went to

the Chavez/Vargas 1d8g address.

   F. Accounts at Other Exchanges

        26.    BlockTrace has also identified several other cryptocurrency accounts that had sent,

received and/or traded cryptocurrency at Square and Bittrex. The Receiver has the Square records

but has not analyzed them at this time. The Receiver has issued a subpoena for the Bittrex records.

The Receiver plans to analyze these accounts to determine the amount of cryptocurrency that went

through these accounts and identify additional potential recoverable funds.

   G. Other Investigative Issues

        27.    Transfers To/From Investors. Some CryptoFX investors made their investment

by transferring BTC directly into wallets controlled by Chavez. Some transfers are traceable from

investors and other payments are from unknown wallets. BlockTrace has added these addresses

to the schedule of all wallets to assist the Receiver in tracing investments in the claims

administration process. An analysis of the withdrawals from the Coinbase accounts determined

that some addresses receiving cryptocurrencies were also used to pay the Ponzi scheme payments

to investors. The names of the investors that received Ponzi payment in cryptocurrency were

identified from the Chavez Exodus wallet data. The Receiver is compiling a list of all crypto

transfers to investors. In addition, the Receiver reviewed the WhatsApp communications between
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Chavez, sales leaders, and investors which often contained investor wallet addresses. Obtaining

this data was a time consuming but necessary project to determine which investors invested by

cryptocurrency and were paid Ponzi profits with cryptocurrency.

        28.      CryptoFX Sponsors/Sales Agents/Leaders. CryptoFX had approximately 30

“leaders” as they were referred to and several of the primary leaders in key markets (Chicago, Los

Angeles, Miami, and New Orleans) maintained crypto wallets used to accept cryptocurrency

investments from investors as well as pay investors Ponzi payments. The Receiver has been

investigating the leaders and sent demand letters for an accounting of funds invested and returns

received. The Receiver is developing information on how much the sale leaders profited with sales

commission, bonuses, and Ponzi profits.

        29.      CryptoFX Leader Roberto Zavala Post Receiver Crypto Account. Roberto

Zavala (“Zavala”), a Chicago leader, continued to raise funds after the Receiver’s appointment in

September 2022. The Receiver understands Chavez asked Zavala and other leaders and investors

to send money to two addresses (323J and 33CX) linked to 247 Academy (the crypto investing

scheme operated by Chavez after Receiver’s appointment). At this time, the Receiver has not

attempted to trace funds to the 247 Academy cryptocurrency addresses.6

        30.      CoinBase Line of Credit. The CryptoFX Coinbase ledgers list six transfers

described as “Loan Collateral” with a value of $1,045,387 out of account 52cd…ab and transferred

to account 52cd…ac. BlockTrace is investigating this change in the last two digits of this account

as we have not identified other accounts with a change in the last two digits. The Receiver has not



6
  Of note is that “247 Academy” also appears to be a street address in New Jersey, one of the states what CryptoFX,
Chavez, or others continued to operate after entry of the Receivership Order. While possibly coincidental, public
records indicate that the property at 247 Academy, Jersey City, NJ happens to have been sold for $938,000 on
November 8, 2022, approximately six weeks after entry of the Receivership Order.
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located any loan documents or loan accounts and is analyzing the original use of the proceeds from

a Coinbase line of credit and how that was paid back.

       31.     Tracing Difficulties (multiple addresses for the same account address). The

following is but one example of the difficulties BlockTrace is currently experiencing in tracing

cryptocurrency transactions when there are multiple deposit addresses associated with the same

account: Chavez’s account 52cd at Coinbase account received 14.06965668 BTC (valued at

approximately $263,000 at time of transfer) from BTC address 3R14 on 11/26/2020, which was

the only receipt from this account. After additional research, BlockTrace determined that account

3R14 is a deposit address for account 52cd. It was ultimately determined that the $263,000 transfer

came from Chavez’s Exodus wallet and went to Chavez Coinbase account 52cd.

       32.     Crypto Tax Issues. The Receiver Team has not identified any CryptoFX records

reporting any trading profits from exchanges, reported to the IRS or any form of reported profits

to investors. The Receiver verified with Coinbase that it does not report any profits or losses to

the IRS. Since the inception of its activities, CryptoFX has no tax returns that have been filed, and

the Receiver does not have sufficient information to file tax returns. In addition, the Receiver does

not have information to provide Form 1099 to investors and has filed timely extensions with the

IRS for 2021 and2022. Based on currently available information, it will likely be impossible,

without Chavez’s cooperation, for the Receiver to identify the cryptocurrency trading profits and

report same to the IRS.

       33.     Ponzi Net Winners. The Receiver plans to review and determine who profited

from the Ponzi scheme and recover profits and commission paid to these individual or entities. In

order to do so, the Receiver must identify which investors paid CryptoFX with crypto and were

repaid their returns on the CryptoFX contracts with crypto. The Receiver will then merge this
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information with the bank account data on cash transactions and determine the net winners that

should be pursued.

        34.      Costs to Trace Crypto-Currency In Effort to Recover Assets for Investors.

While the Receiver Team is mindful of the extensive time required and ultimate costs of tracing

these cryptocurrency transactions, it avers the following actions by Chavez and CryptoFX justify

the need for the Receiver Team to determine if there are recoverable assets for investors:

             Failed to maintain clear or consistent records of any cryptocurrency trading.
             Traded over $130 million in cryptocurrency transactions.
             Traded over 70 different types of cryptocurrencies.
             Raised over $300 million in a primarily cash Ponzi scheme.
             Delivered over $40 million in cash to Chavez that has not been identified. The Receiver
              questions if these funds were diverted to cryptocurrency and self-custodial accounts.
             Purchased hundreds of thousands of dollars in money orders with cash that has not been
              traced.
             Transferred coins to Switchain which is provides a system to transfer coin types.
             Transferred coins to Binance.com offshore.
             Transferred coins to non-custodial accounts at Blockchain.com.
             Traced cryptocurrency transactions from identified Coinbase accounts through
              thousands of cryptocurrency addresses to make investor interest payments and transact
              with other exchanges.
             Used multiple different Exodus wallets to make investor interest payments.
             Owned a Nano drive which is used to store cryptocurrencies and has not produced the
              private keys so the Receiver can determine if any cryptocurrencies are on the drive.
             Transacted trades through over 6,800 different cryptocurrency addresses identified in
              the analysis of the documents provided by BlockTrace.
             Defrauded over 40,000 victims.

        35.      Given these issues, the Receiver has determined it prudent to trace the major

cryptocurrency transfers and to continue the investigation to determine if there are any additional

recoverable assets.

IV.     Proposed Workplan (Q3 2023)

        36.      The Receiver recommends the continuation of the Receivership and proposes the

following workplan as the key focus for the next 90 days.

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   A. BlockTrace Investigation

       37.      BlockTrace’s CryptoFX cryptocurrency trading investigation is ongoing. The

following items are proposed for the third quarter of 2023:

            Trace the 3 Exodus wallets, 1Msf, bc1Q, and 1d8g.
            Investigate the Swithchain records when/if records received from Marshall Islands.
            Investigate the Binance.com accounts when data is received.
            Investigate the leaders’ crypto addresses in the WhatsApp communications.
            Investigate the leaders’ crypto wallets. HFC has prepared a list of all leaders and is
             prepared analyses on how much leader profited via commissions, bonuses, and Ponzi
             payments. BlockTrace will match this information to the investors that received crypto
             payments.
            Finish Coinbase withdrawal tracing for the 5 known accounts.
            Trace all significant deposits to identify possible investors and additional non-
             custodial wallets sending coins to CryptoFX.
            Trace the KOT4X accounts.
            Trace BlockChain.com accounts.
            Trace Bittrex accounts.com.
            Analyze and trace the Square Accounts. BlockTrace has the data but have not traced
             since upon initial review these account do not appear to have significant transaction
             value.
            Follow-up on the subpoenas sent to Kracken, Bitstamp, Crypto.com, and Kucoin.

       38.      After Receiver obtains the additional information discussed in this report, a full

report of BlockTrace’s findings will be filed. It is hopeful this work will be completed before the

Receiver’s 6th Interim Report is filed in October 2023.

   B. Additional Investigation

       39.      Receiver filed a Motion to Compel as to Chavez’s assertion of his 5th Amendment

rights on April 24, 2023. This matter is fully briefed and awaiting guidance from this Court.

Receiver is hopeful that he obtains access to the CryptoFX Google drive, and the CryptoFX

business records stored in Chavez’s Mac-Mini computer and cell phone. These records are critical

to the Receiver’s efforts to unravel CryptoFX transactions and are likely to lead to additional

recoveries for the benefit of the estate. Most certainly, having this information will reduce the cost

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of the investigation and will provide comfort to investors that their funds were properly traced and

that Chavez does not have millions of their money. While awaiting on information from additional

subpoenas and from potential data from Chavez, the Receiver Team will continue researching the

issues discussed in this report along with specific large dollar/coin transfers.

V.      Claims and Liquidation Analysis (as of 7/15/23)

        40.    Based upon the known universe of over 40,000 investors/victims and based upon

cash on hand in the receivership estate of $3,598,051, it is inconceivable that a liquidation and

claims distribution at this juncture would yield a meaningful dividend to investors. The only

prospect of a meaningful return in this case is for Receiver to continue to invest (with this Court’s

and the SEC’s approval), funds currently on hand to complete the ongoing forensic and fact

investigation as described herein.

VI.     CASH ON HAND AND ESTIMATED ACCRUED ADMINISTRATIVE EXPENSES

        41.    On June 20, 2023 the Receivership Estate had the following cash on hand:

$3,598,051 deposited in four trust accounts named for each of the Defendants as of the end of the

Application Period (July 31, 2023). See Schedule of Receipts and Disbursements, attached as

Exhibit A. As of the filing of this Report, no disbursements to “investors”/victims or creditors

have taken place.

        42.    During the period covered by this Report, the Receivership Estate has incurred

administrative expenses in the amount of $30,269.67 as a result of the efforts to marshal and

preserve the assets of the Receivership. All of these projected expenses were advanced by SHB.

The Receiver and the professionals working with him are well aware that the fees and expenses

associated with the administration of the Receivership are paid from the assets of the Receivership



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Estate. The goal of all involved professionals is to conclude this Receivership as quickly and

efficiently as can be reasonably accomplished, thereby maximizing recovery to victims.

         43.    For the period April 1, 2023 to June 30, 2023, the unbilled professional fees

incurred are as follows: $46,200 John Lewis, Jr.; $213,659.50 Shook, Hardy & Bacon L.L.P.;

$113,287.36 Hays Financial Consulting, LLC; and $21,924.00 BlockTrace Inc.

VII.     DESCRIPTION OF ALL KNOWN RECEIVERSHIP PROPERTY

         44.    The Receiver estimates a total of $56,100,390 in known liquidated and unliquidated

Receivership assets, including unasserted causes of action requiring this Court’s approval to bring.

A true and correct copy of the Liquidated and Unliquidated Analysis performed by Hays Financial

Consulting, LLC is attached hereto as Exhibit B.

         45.    The Receiver and his team’s investigation shows additional Receivership property

held by third parties. The Receiver plans to seek turnover of these assets and also move for the

expansion of the Receivership Order to include other persons and/or entities known to hold

Receivership assets. Depending on the equity in each of the properties, appropriate action will be

taken to either sell, hold, donate, or abandon properties in order to maximize the return of cash to

the estate. It is too early to tell at this time what price the assets will sell for, the relative costs

associated with the sales, or the potential recovery benefit to the Receivership estate.

VIII.    LIST OF ALL KNOWN CREDITORS

         46.    The only known commercial creditor is BZO Custom Wheels, LLC, the landlord

of the CryptoFX’s offices on Blalock (“Landlord”). Landlord had an unliquidated claim for

approximately $20,239.18 against the Receivership estate, which includes rent and utility bills.

The Receiver and his team negotiated the sale of certain Receivership personal property at Blalock

to set off Landlord’s claim, bringing the final settlement amount to $17,209.18. The Receiver’s
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team also negotiated and the Landlord agreed to terminate the lease on October 31, 2022, although

the Receiver vacated the premises of the Blalock office on December 7, 2022. The claim of the

landlord has been fully resolved and is now concluded.


 Dated: July 20, 2023                            Respectfully submitted,

                                                 SHOOK, HARDY & BACON L.L.P.

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                                                      Court-Appointed Receiver




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                               CERTIFICATE OF SERVICE

       I hereby certify that on this the 20th day of July, 2023, the above and foregoing document

was filed electronically through the CM/ECF system, which sent notification of such filing to all

known counsel of record.

 Matthew J. Gulde                                  Paul D. Flack
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